_ Walden Macht & Haran LLP

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The Honorable Colleen McMahon

United States District Judge ARER Kf) AArhor ry II bl z—r “]
Southern District ofNew York posi: FP PT INR a)

500 Pearl Street, Suite 1640 TE EEE a et é |
New York, New York 10007 yonted

Re: United States vy. Sandeep Aggarwal bu. he ike i.

No, 13 Cr. 884 (CM)

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Dear Judge McMahon:

We represent Defendant Sandeep Aggarwal in the above-referenced action. Mr. Aggarwal
pled guilty in November 2013 and, as referenced in the Government’s letters dated September 12,
2017, Mr. Aggarwal is cooperating with the Government. On July 13, 2017, the Court approved
an arrangement with the Government that permitted Mr. Aggarwal to live with his family in India
until the date of his sentencing, which was scheduled for October 17, 2017.

Subsequently, Mr. Aggarwal’s sentencing was rescheduled for November 29, 2017. On
September 12, 2017, the Government requested that Mr. Aggarwal’s sentencing be adjourned
because, among other reasons, Mr. Aggarwal’s cooperation may not be complete, and the
Government may seek to use Mr. Aggarwal’s testimony in United States vy. Richard Lee, 13 Cr.
539 (PGG). This Court adjourned sentencing and placed the matter on the calendar for January
10, 2018 for an update. We therefore respectfully request that the Court allow Mr. Aggarwal to
remain in India until January 10, 2018. The Government consents to this request.

Thank you for your consideration of this request.

Respectfully submitted,

Lio

Sean P. Casey

Cc: Brendan Quigley, Assistant U.S. Attorney (by ECF)

 

 

 
